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                                  UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF MINNESOTA
                                         FOURTH DIVISION


  RODERICK ARNOLD, et al.,                         )    CIVIL ACTION NO. 01-CV-2086
  on behalf of themselves and all others           )    (DWF/AJB)
  similarly situated,                              )
                                                   )    CLASS ACTION
                   Plaintiffs,                     )
                                                   )
  v.                                               )
                                                   )
  CARGILL, INCORPORATED,                           )
                                                   )
                   Defendant.                      )


                         NOTIFICATION OF CONVENTIONAL FILING

                                                   OF

                                 APPENDIX 1 (Reply): Summary Exhibits
                                             Sxs. 10-14

                                        [FILED UNDER SEAL]



         This document is a place holder for the following item(s) which are filed in conventional or

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         Appendix 1 (Reply): Summary Exhibits, Sxs. 10-14

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 ___ Other (description):

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 Dated: September 2, 2004                              SPRENGER & LANG, PLLC




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